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                                                           6    Saks & Company LLC
                                                           7
                                                                                       UNITED STATES DISTRICT COURT
                                                           8
                                                                                               DISTRICT OF NEVADA
                                                           9

                                                          10    CAROL INGRAM,                        )          Case No.: 2:21-cv-01767-JCM-VCF
                                                                                                     )
                                                          11                             Plaintiff,  )          DISCOVERY PLAN AND
                                                                                                     )          SCHEDULING ORDER
FISHER & PHILLIPS LLP




                                                          12    v.                                   )          SUBMITTED IN COMPLIANCE
                        300 S Fourth Street, Suite 1500
                          Las Vegas, Nevada 89101




                                                                                                     )          WITH LR 26-1(b)
                                                          13
                                                                SAKS & COMPANY LLC, a Delaware )
                                                          14    limited liability company d/b/a SAKS )
                                                                FIFTH AVENUE; DOES I-X and ROE       )
                                                          15    ENTITIES I-X, inclusive,             )
                                                                                                     )
                                                          16                            Defendant.   )
                                                                __________________________________ )
                                                          17

                                                          18            Pursuant to Federal Rules of Civil Procedure 26(f) and Local Rule 26-1, the

                                                          19    parties through their respective counsel, submit the following proposed Discovery
                                                          20    Plan and Scheduling Order.
                                                          21
                                                                        (1)     Discovery Cutoff Date. The discovery period will close on May 4,
                                                          22
                                                                2022, which is 180 days from the date of the filing of Defendant’s Answer.
                                                          23
                                                                         (2)    Amending the Pleadings and Adding Parties.          The date for filing
                                                          24

                                                          25    motions to amend the pleadings or to add parties shall be on or before February 3,

                                                          26    2022, which is not later than 90 days prior to the close of discovery.

                                                          27            (3)     Expert Witness Disclosures. The disclosure of any expert witnesses
                                                          28    shall be made on or before March 4, 2022, which is not less than 60 days before the

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                                                           1    discovery deadline. The disclosures of any rebuttal experts shall be due on or before

                                                           2    April 4, 2022. The requirements of F.R.C.P. 26(a)(2)(B) shall apply to any such
                                                           3
                                                                disclosures.
                                                           4
                                                                         (4)    Dispositive Motions. Dispositive motions shall be filed by June 3,
                                                           5
                                                                2022, which is 30 days after the discovery cut-off date.
                                                           6
                                                                         (5)    Pretrial Order. The Joint Pretrial Order shall be filed by July 5, 2022,
                                                           7

                                                           8    which is the first court day 30 days after the dispositive motions deadline. However,

                                                           9    in the event that dispositive motions are filed, the date for filing the Joint Pretrial
                                                          10    Order shall be suspended until 30 days after a decision on the dispositive motions or
                                                          11
                                                                further order of the Court.     The disclosures required by Federal Rules of Civil
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                                                          12
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                                                                Procedure 26(a)(3), and any objections thereto, shall be included in the Joint Pretrial
                          Las Vegas, Nevada 89101




                                                          13
                                                                Order.
                                                          14

                                                          15             (6)    Initial Disclosures. The parties will make their Initial Disclosures by

                                                          16    December 13, 2021, with no changes in the form or requirements for such disclosures.

                                                          17             (7)    Discovery Subjects. The parties may conduct discovery within the
                                                          18    scope of Federal Rules of Civil Procedure 26(b). Subject to the foregoing, discovery
                                                          19
                                                                need not be limited or focused on particular issues or conducted in phases. The parties
                                                          20
                                                                agree that before any discovery dispute becomes the subject of a motion filed with the
                                                          21
                                                                Court, in addition to the meet and confer requirements imposed by the Federal Rules
                                                          22

                                                          23    of Civil Procedure and local rules, the parties will request a conference with the

                                                          24    Magistrate Judge.

                                                          25             (8)    Electronically Stored Information (“ESI”). The parties recognize that
                                                          26
                                                                electronically-stored information may be involved in this matter and prefer to deal
                                                          27
                                                                with such information on an ad hoc basis as issues may arise. The parties have
                                                          28
                                                                discussed whether they intend to present evidence in electronic format to jurors for the
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                                                           1    purpose of jury deliberations, but no stipulations have been reached at this time

                                                           2    regarding providing discovery in an electronic format compatible with the Court’s
                                                           3
                                                                electronic jury evidence display system.
                                                           4
                                                                        (9)     Protection of Privileged/Trial Preparation Material. The parties prefer
                                                           5
                                                                to handle these issues on an ad hoc basis as issues arise, but the provisions of Fed. R.
                                                           6
                                                                Civ. P. 26(b)(5)(B) and Federal Rules of Evidence 502 shall apply.
                                                           7

                                                           8            (10)    The parties certify they have conferred about the possibility of using

                                                           9    alternative dispute resolution processes, including mediation, arbitration and early
                                                          10    neutral evaluation and have considered consent to trial by a magistrate judge under 28
                                                          11
                                                                U.S.C. § 636(c) and Fed. R. Civ. P. 73 and use of the Short Trial Program (General
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                                                          12
                        300 S Fourth Street, Suite 1500




                                                                Order 2013-01).
                          Las Vegas, Nevada 89101




                                                          13
                                                                 KAPLAN COTTNER                              FISHER & PHILLIPS LLP
                                                          14

                                                          15     By: /s/ Kory L. Kaplan, Esq.                By: /s/ Scott M. Mahoney, Esq.
                                                                    850 E. Bonneville                           300 South Fourth Street #1500
                                                          16        Las Vegas, Nevada 89101                     Las Vegas, Nevada 89101
                                                                    Attorneys for Plaintiff                     Attorneys for Defendant
                                                          17
                                                                                                      IT IS SO ORDERED:
                                                          18

                                                          19                                          ____________________________________
                                                                                                      UNITED STATES MAGISTRATE JUDGE
                                                          20
                                                                                                              11-23-2021
                                                                                                      DATED:____________________________
                                                          21

                                                          22

                                                          23

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